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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION


Burke Automotive Group, Inc.            )
d/b/a Naperville Chrysler               )
Dodge Jeep Ram,                         )
                                        )
            Plaintiff,                  )
                                        )
                                        )
     v.                                 )    No. 24 C 12263
                                        )
                                        )
FCA US, LLC d/b/a Stellantis            )
North America,                          )
                                        )
            Defendant.                  )


                      Memorandum Opinion and Order

     For years, Burke Automotive Group, Inc. (“Burke Auto”) was an

automobile dealership offering FCA US LLC’s vehicles and parts.

That franchise arrangement lasted until, Burke Auto alleges, FCA’s

conduct forced Burke Auto to sell its assets. Burke Auto brought

this suit under the Federal Automobile Dealers’ Day in Court Act,

15 U.S.C. § 1221 et seq., the Illinois Motor Vehicle Franchise

Act, 815 Ill. Comp. Stat. 710/1 et seq., and for breach of contract

and breach of the covenant of good faith and fair dealing under

Illinois common law. FCA now moves to dismiss under Federal Rule

of Civil Procedure 12(b)(6). For the reasons below, the motion is

granted in part and denied in part.
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                                      I.

       Burke Auto and FCA entered into several “service agreements”

and addenda, attached as exhibits to the complaint, in November

2012. Under the agreements, Burke Auto became a dealer of FCA’s

vehicles, which include the Chrysler, Jeep, Dodge, and RAM brands.

FCA was required to provide vehicles and parts to Burke Auto, which

was in turn required to sell these goods within its market area.

       The   complaint   describes    FCA’s     purported   “turn    and   earn”

system of allocating vehicles, where “turn” refers to turnover

ratio and “earn” refers to “gross margin return on investment.”

Compl., ECF 1 ¶¶ 54–55. Under this system, faster turnover of

inventory resulted in an increased allocation of vehicles while

slower turnover would reduce the vehicles sent to a dealership.

Similarly, dealerships with higher “earn” rates would receive more

vehicles to sell, and those with lower earn rates received fewer.

       When properly implemented, Burke Auto alleges this system is

a rational one: it aligns vehicle allocations with the productivity

of a dealership. But FCA manipulated the system and doled out

vehicles arbitrarily, pushing Burke Auto into a “death spiral.”

Id.    ¶ 65.   FCA   intentionally    deprived     Burke    Auto    of   “enough

inventory to meet the needs of [Burke Auto’s] customers or to allow

[Burke Auto] to satisfy sales goals and relative performance

measures.” Id. ¶ 78. This “depletion of [Burke Auto’s] inventory

made   it    increasingly   difficult      to   ‘turn-and-earn’     additional

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inventory from [FCA], starving it out of business.” Id. ¶ 79.

Having sent Burke Auto spiraling, FCA then failed to adjust Burke

Auto’s allocation or to provide it with needed support. For

instance, in 2022 FCA failed to allocate a sufficient number of

vehicles to the point that Burke Auto had only 20 vehicles on hand.

      Meanwhile, favored dealers received sufficient supply. See

id.   ¶ 75 (FCA   “exercised     discretion         to   shift   allocations      to

favored dealers.”); id. ¶ 87 (“Inventory was taken out of the turn

and earn system, and given to favored dealers, such as those that

built new stores, before allocation to remaining dealers based on

the alleged allocation formula or method.”). Burke Auto alleges,

on information and belief, different theories as to the source of

these excess allocations. They may have come at the direct expense

of disfavored dealers like Burke Auto, with FCA diverting “ready-

to-ship” inventory from those dealers to the more favored ones.

Id. ¶ 93. Or there might have existed an “unofficial pool of

discretionary vehicles that is allocated only to favored dealers.”

Id. ¶ 95. To illustrate, Burke Auto alleges that in July 2022 it

had a higher turn rate than other dealers but received lower

allocations   than    they   did.   In       that   month,   Burke   Auto   had   a

beginning-of-month turn rate of 38%, compared to a 20% turn rate

at “a dealer named Elgin,” but Elgin nonetheless was sent 66

vehicles compared to Burke Auto’s 15. Id. ¶¶ 111–14. Burke Auto



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repeatedly sought information about the allocation system, but FCA

refused to explain the system transparently.

        In the end, Burke Auto was forced to sell its assets to a

third party in the summer of 2022. About one month after the sale,

the new dealer’s website showed that it had 210 vehicles in stock,

considerably more than the vehicles Burke Auto had just one month

before.

        As for why FCA acted as it did, Burke Auto alleges it may

have    been    retaliation      for   Burke   Auto’s    participation     in    an

arbitration against FCA after Chrysler’s bankruptcy. Additionally,

Burke Auto posits that its refusal to prioritize FCA’s sales and

volume demands in lieu of Burke Auto’s own profitability motivated

FCA’s actions.

                                        II.

        The Automobile Dealers’ Day in Court Act (ADDCA) imposes

liability on automobile manufacturers who fail “to act in good

faith    in    performing   or    complying    with     any   of   the   terms   or

provisions of the franchise, or in terminating, canceling, or not

renewing the franchise with said dealer.” 15 U.S.C. § 1222. The

ADDCA defines “good faith” as:

        [T]he duty of each party to any franchise . . . to act
        in a fair and equitable manner toward each other so as
        to guarantee the one party freedom from coercion,
        intimidation, or threats of coercion or intimidation
        from the other party: Provided, That recommendation,
        endorsement, exposition, persuasion, urging or argument
        shall not be deemed to constitute a lack of good faith.

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Id.     § 1221(e)      (italics      in    original).       Under    this   statutory

definition, Burke Auto must show a lack of good faith not in the

“ordinary sense,” but “in which coercion, intimidation, or threats

thereof, are at least implicit.” Lawrence Chrysler Plymouth, Inc.

v. Chrysler Corp., 461 F.2d 608, 610 (7th Cir. 1972).

      FCA argues that Burke Auto has not alleged coercion or

intimidation        and    instead        relies    on      vague    allegations    of

arbitrariness. But FCA demands too much, asserting that Burke Auto

must allege an explicit demand from FCA that it refused. As the

Lawrence Chrysler court observed, coercion can be implicit, which

means     that   “[m]anipulation           of     the    dealer’s     inventory    may

constitute coercion when the facts suggest an intent to drive the

dealer out of business.” Olympic Chevrolet, Inc. v. Gen. Motors

Corp., 959 F. Supp. 918, 921 (N.D. Ill. 1997) (citations omitted);

see also Nissan Motor Acceptance Corp. v. Schaumburg Nissan, Inc.,

Nos. 93 C 2701, 92 C 6089, 1993 WL 360426, at *5 (N.D. Ill. Sept.

15, 1993) (upholding ADDCA claim based on allegation that defendant

“engag[ed] in a course of conduct that was intended to drive

[plaintiff]      out      of    business”       including    by     “discriminat[ing]

against [plaintiff] in terms of allocations and marketing support

so that the [d]ealership would be unprofitable”).

      That is precisely what Burke Auto alleges happened here. It

explains    that    FCA        “controlled   and    manipulated       its   allocation

system seemingly to starve [Burke Auto] out of inventory,” Compl.

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¶ 43, by failing to deliver sufficient vehicles to satisfy customer

demand while offering more vehicles to other dealers. See, e.g.,

id. ¶¶ 45–52, 87–93. The complaint even suggests plausible motives

for FCA’s poor treatment of Burke Auto--Burke Auto’s participation

in arbitration against FCA and Burke Auto’s refusal to prioritize

FCA’s goals at the expense of its own. Id. ¶¶ 128–29.

       Thus, Burke Auto has plausibly alleged an ADDCA claim and the

motion to dismiss that claim is denied.

                                     III.

       Burke Auto also brings claims under various provisions of the

Illinois Motor Vehicle Franchise Act (“IMVFA”), 815 Ill. Comp.

Stat. 710/1 et seq. For the sake of clarity, I address each under

a separate heading.



Count II - 815 Ill. Comp. Stat. 710/4(a)–(b)

       FCA argues that there is no private cause of action under

section 4(a), which simply states that “[t]he unfair methods of

competition and unfair and deceptive acts or practices listed in

this Section are hereby declared to be unlawful” and offers that

courts may look to interpretations of the Federal Trade Commission

Act, 15 U.S.C. § 45 et seq., to construe the IMVFA. 815 Ill. Comp.

Stat. 710/4(a). I agree, since this provision merely proclaims

that   subsequent   provisions     describe     violations    of   the   IMVFA,



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rather than describing one itself. The motion to dismiss is granted

as to the section 4(a) claim.

       Section 4(b), on the other hand, clearly provides for a cause

of action, making it “a violation for any manufacturer . . . to

engage   in    any   action   with   respect    to   a   franchise    which      is

arbitrary, in bad faith or unconscionable and which causes damage

to any of the parties or to the public.” 815 Ill. Comp. Stat.

710/4(b). FCA argues Burke Auto fails to specifically identify

what conduct was in bad faith or unconscionable, but that argument

fails in light of the allegations about FCA’s allocation practices

surveyed above. The motion to dismiss is denied as to the section

4(b) claim.



Count III - 815 Ill. Comp. Stat. 710/4(d)(1)

       Section 4(d)(1) makes it a violation for a manufacturer “to

adopt, change, establish, or implement a plan or system for the

allocation and distribution of new motor vehicles to motor vehicle

dealers which is arbitrary or capricious or to modify an existing

plan so as to cause the same to be arbitrary or capricious.” 815

Ill.   Comp.   Stat.   710/4(d)(1).     The    complaint    is   replete    with

allegations that FCA implemented a plan that arbitrarily allocated

vehicles to Burke Auto, see, e.g., Compl. ¶¶ 45–48, 69–70, 76–77,

so the motion as to this count is denied.



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Count IV - 815 Ill. Comp. Stat. 710/4(d)(2)

     Section 4(d)(2) deems it a violation for a manufacturer “to

fail or refuse to advise or disclose” to a dealer, “upon written

request therefor,” how it determines vehicle allocation. 815 Ill.

Comp. Stat. 710/4(d)(2). FCA argues this count should be dismissed

because Burke Auto fails to allege that it made a written request

for that information, instead alleging only that it “made repeated

requests for information about vehicle allocation,” Compl. ¶ 105,

and that FCA withheld information despite these requests, id.

¶ 106. Plaintiffs are not required to include detailed factual

allegations in their complaints, so long as what they allege makes

their claims plausible. But where, as here, a statute specifies

the requirement of a written request, and where knowledge of

whether a written request was made lies with the plaintiff, failure

to allege that fact is fatal. If Burke Auto in fact made a written

request, it will have the opportunity to allege that fact in an

amended complaint. The motion to dismiss is granted on this count.



Count V - 815 Ill. Comp. Stat. 710/4(d)(3)

     Section 4(d)(3) makes it a violation “to refuse to deliver in

reasonable quantities and within a reasonable time after receipt

of dealer’s order . . . motor vehicles as are covered by [a]

franchise or selling agreement specifically publicly advertised in

the State by [the] manufacturer . . . to be available for immediate

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delivery.” 815 Ill. Comp. Stat. 710/4(d)(3). FCA faults Burke Auto

for failing to allege that FCA advertised in Illinois that any of

its vehicles were available for immediate delivery. But Burke Auto

does make that factual allegation. See Compl. ¶ 184. It is not

required to allege more detailed facts on this score without the

aid of discovery. Moreover, the remaining allegations in the

complaint--which     concern    FCA’s       failure     to    adequately   supply

certain vehicles--bolster the claim’s plausibility.

      FCA’s additional argument that the complaint fails to allege

that FCA refused to fill Burke Auto’s orders as to specific

vehicles     similarly   contemplates       too   much       detail.   Burke   Auto

alleges, as one example, that it “did not receive its fair share

of inventory from [FCA].” Id. ¶ 45. It need not identify the

specific vehicle orders at this stage. The motion to dismiss is

denied as to Count V.



Count VI - 815 Ill. Comp. Stat. 710/4(d)(4)

      Section 4(d)(4), as relevant here, makes it a violation to

“threaten[] to reduce [a dealer’s] allocation of motor vehicles.”

815   Ill.   Comp.   Stat.   710/4(d)(4).         FCA   argues    there    are   no

allegations of direct threats. However, FCA supplies no argument

that a direct, explicit threat is required for liability under

this section. The complaint sufficiently describes a campaign

against Burke Auto aimed at reducing its vehicle allocation in

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retaliation for Burke Auto’s participation in arbitration to make

it plausible that FCA’s conduct amounted to an implied threat. The

motion to dismiss is denied as to Count VI.



Count VII - 815 Ill. Comp. Stat. 710/4(d)(6)

     Section 4(d)(6) makes it a violation for a manufacturer to

cancel, terminate, or refuse to extend or renew a dealership

agreement without notice or good cause. 815 Ill. Comp. Stat.

710/4(d)(6). FCA argues that the Illinois Supreme Court has held

that Illinois courts lack subject-matter jurisdiction to determine

liability under this provision, a task reserved for the Illinois

Motor Vehicle Review Board. See Crossroads Ford Truck Sales, Inc.

v. Sterling Truck Corp., 959 N.E.2d 1133, 1144, 1147 (Ill. 2011)

(holding that claim must be brought before Motor Vehicle Review

Board and, upon a finding of no good cause by that body, claim can

be filed in court on the issue of damages). Burke Auto does not

substantively respond to this jurisdictional argument. Based on

the Crossroads decision, I agree that I lack jurisdiction to

consider this claim and dismiss it without prejudice under Rule

12(b)(1).



Count VIII - 815 Ill. Comp. Stat. 710/9

     Section 9(a) makes it unlawful for a manufacturer “to fail to

renew a franchise on terms then equally available to all its motor

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vehicle dealers, or to terminate a franchise or restrict the

transfer of a franchise until the franchisee shall receive fair

and reasonable compensation for the value of the business and

business premises.” 815 Ill. Comp. Stat. 710/9(a). FCA argues this

provision has no application here because there is no allegation

that it failed to renew, terminated, or restricted the transfer of

Burke Auto’s dealership. In Burke Auto’s view, this prohibition

reaches circumstances like this one, in which a manufacturer

“artificially deflate[s] the sales price [of a dealership] to

destroy a business or support a favored dealer as a competitor or

purchaser.” Resp., ECF 30 at 13. While other provisions of the

IMVFA might reach this conduct--as some of Burke Auto’s surviving

claims   demonstrate--I      agree   with   FCA   that    violation    of   this

provision only occurs where a manufacturer “fail[s] to renew,”

“terminate[s],” or “restrict[s] the transfer of” a franchise, none

of which is alleged to have occurred here. Accordingly, the motion

to dismiss is granted as to this count.

                                      IV.

     The complaint sets forth one count for breach of contract and

one count for breach of the implied covenant of good faith and

fair dealing. As FCA correctly argues, “Illinois does not recognize

an independent cause of action for breach of the implied duty of

good faith and fair dealing.” Hickman v. Wells Fargo Bank N.A.,

683 F. Supp. 2d 779, 793 (N.D. Ill. 2010). But the covenant,

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implied in every contract under Illinois law, can form the basis

of a breach of contract claim. See id. Thus, while as a formal

matter I dismiss the separate claim for breach of the covenant of

good faith and fair dealing, the allegations surrounding it are

subsumed under the breach of contract claim.

        A breach of contract claim in Illinois consists of the

following elements: (1) a valid and enforceable contract; (2)

plaintiff’s performance; (3) defendant’s breach; and (4) injury to

the plaintiff. Wolf v. Riverport Ins. Co., 132 F.4th 515, 520 (7th

Cir. 2025) (citing Batson v. Oak Tree, Ltd., 2 N.E.3d 405, 414

(Ill.    App.   Ct.   2013)).   FCA   argues     that   Burke   Auto   does   not

sufficiently allege facts related to the third element, breach. It

does so first by pointing out that Burke Auto does not anywhere

identify a contractual provision that was breached. While some

courts in this district have required plaintiffs at the pleading

stage to point to the specific contractual provision they claim

was breached, most do not. Compare, e.g., Gandhi v. Sitara Cap.

Mgmt., LLC, 689 F. Supp. 2d 1004, 1016 (N.D. Ill. 2010) (concluding

plaintiffs failed to meet pleading burden “[b]y not identifying in

their    complaint     the   provision      of   the    [contract]     allegedly

breached”), with Souza v. Erie Ins. Co., No. 22-cv-3744, 2023 WL

4762712, at *4 (N.D. Ill. July 25, 2023) (“A majority of courts in

the district have found that a plaintiff is not required to cite



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a    specific     contract    provision. . . .”          (citation    and    internal

quotation marks omitted)). I agree with the majority.

        Even so, absent identification of a specific contractual

provision, Burke Auto “must in all events plead sufficient facts

to suggest plausibly that a breach of some contractual obligation

occurred.” Melnick v. Betfair Interactive, LLC, 563 F. Supp. 3d

822, 824 (N.D. Ill. 2021) (citing Sumi Cho v. Rosato Perea, No. 19

C 8117, 2019 WL 4645419, at *10 (N.D. Ill. Sept. 24, 2019)). Here,

Burke Auto alleges that the agreements with FCA entitled it “to

receive vehicles and parts for retail sale, and [FCA] was obligated

to     provide    these   vehicles     and     parts.”    Compl.     ¶ 36.   Yet    FCA

“fail[ed] to allocate sufficient vehicles in terms of quantity,

type, or mix,” id. ¶ 216, as described throughout the complaint.

Arguing only that Burke Auto fails to sufficiently identify a

contractual obligation FCA breached, FCA offers little to persuade

me that these alleged breaches could not have arisen from the

parties’ agreements. Thus, the breach of contract claim survives.

        Furthermore,       the    allegation       that     FCA      acted    “in    a

discriminatory, arbitrary, and inequitable fashion,” id., which

echoes other core allegations in the complaint, plausibly suggests

FCA ran afoul of the duty of good faith and fair dealing. That

could itself amount to a contractual breach. In Interim Health

Care of Northern Illinois, Inc. v. Interim Health Care, Inc., the

Seventh Circuit examined the duty of good faith and fair dealing,

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explaining that “[p]roblems relating to good faith performance are

most    common    where    one     party   to   an   agreement   is   given   wide

discretion, and the other party must hope the discretion is

exercised fairly.” 225 F.3d 876, 884 (7th Cir. 2000) (citing Dayan

v. McDonald’s Corp., 466 N.E.2d 958, 971 (Ill. App. Ct. 1984)).

“When    one     party    to   a   contract     is   vested   with    contractual

discretion, it must exercise that discretion reasonably and with

proper motive, and may not do so arbitrarily, capriciously or in

a manner inconsistent with the reasonable expectations of the

parties.” Id. (citation omitted); see also Hickman, 683 F. Supp.

2d at 792–93 (same). The court in Interim Health went on to allow

a breach of contract claim premised on violation of the duty of

good faith to proceed past summary judgment because of evidence

that the defendant had abused the discretion it possessed under

the contract.

        Burke Auto’s allegations, taken as true, make it plausible

that FCA abused its contractually-conferred discretion--discretion

FCA agrees it possessed, see Reply, ECF 34 at 1–2--as to vehicle

allocation. Thus, both because Burke Auto has alleged FCA breached

contractual obligations and because it has alleged it violated the

covenant of good faith and fair dealing, Burke Auto’s breach of

contract claim may proceed.




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                                       V.

     For the foregoing reasons, FCA’s Rule 12(b)(6) motion to

dismiss is granted in part and denied in part. It is granted as to

the portion of Count II premised on 815 Ill. Comp. Stat. 710/4(a),

and as to Counts IV and VIII. Count X is also dismissed, but as

discussed Burke Auto may continue to pursue this theory via its

breach of contract claim. Count VII is dismissed without prejudice

for lack of subject-matter jurisdiction. The motion is denied as

to the remaining counts. Burke Auto may file an amended complaint

within 21 days of this order to remedy the deficiencies identified

in the dismissed counts.




                                     ENTER ORDER:



                                     _____________________________
                                            Elaine E. Bucklo
                                      United States District Judge

Dated: April 25, 2025




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